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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

GREGORY GREENE, JOSEPH LACK,
ANTHONY MOTTO, and GREGORY
PEARCE, individually and on behalf of all
others similarly situated,

                              Plaintiffs,                           Case No. 14 C 01437

v.                                                                  Judge Gary Feinerman

MIZUHO BANK, LTD., a Japanese financial                             Magistrate Judge Susan E. Cox
institution, and MARK KARPELES, an
individual,

                              Defendants.




          MOTION FOR LEAVE TO FILE MIZUHO’S MOTION TO EXCLUDE THE
           REPORT AND TESTIMONY OF M. TODD HENDERSON UNDER SEAL

            Defendant Mizuho Bank, Ltd. (“Mizuho”), by its attorneys, and pursuant to Northern

District of Illinois Local Rule 26.2, respectfully moves for an Order of this Court allowing it to

file the papers in support of Mizuho’s Motion to Exclude the Report and Testimony of M. Todd

Henderson (the “Motion to Exclude”) under seal. 1

            1.       Mizuho’s Memorandum Of Law In Support Of Its Motion to Exclude the Report

and Testimony of M. Todd Henderson (“Memorandum Of Law”) quotes from and discusses the

substance of two documents: the transcript of the deposition of M. Todd Henderson, and the

Expert Report of M. Todd Henderson, each of which the parties have labeled

“CONFIDENTIAL” (the “Confidential Documents”).                                In addition, Mizuho describes the


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     Mizuho continues to contest this Court’s personal jurisdiction over it in this litigation, and does not consent to
     jurisdiction by virtue of this filing, but is instead filing necessary documents in this litigation to avoid being found
     in default, or otherwise prejudicing its position, and reserves all rights.
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Confidential Documents in the Motion to Exclude and attaches them as Exhibits 1 through 2 to

the Declaration of Jerome S. Fortinsky, which is being filed in support of the Motion to Exclude.

       2.       On January 26, 2016, this Court entered a Stipulated Protective Order, which

governs documents marked by the parties as confidential. (Dkt No. 178). The Stipulated

Protective Order provides that “[a]ny Discovery Material designated as “CONFIDENTIAL” . . .

submitted to the Court (including documents or materials containing information therefrom),

shall be labeled “CONFIDENTIAL” . . . and shall be filed under seal.” (Id. at ¶ 18).

       3.       Because the motion papers associated with Mizuho’s Motion to Exclude (the

“Motion Papers”) include a copy of, quote from, and discuss the substance of the Confidential

Documents, Mizuho requests that the Court grant it leave to file the Motion Papers under seal

with access limited to the Court, attorneys of record, and parties to this case. See, e.g., Cusack v.

Bank United of Texas FSB, 159 F.3d 1040, 1042 (7th Cir. 1998) (affirming the district judge’s

order that certain information be filed under seal with the court, noting the “low public value of

disclosure in the circumstances weighed against the possible costs to the defendant of that

disclosure”).

       4.       Mizuho is filing redacted versions of the Motion Papers on the public docket, and

is filing unredacted versions of these documents under seal, subject to the Court’s ruling on this

Motion for Leave to File Under Seal.




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       WHEREFORE, Defendant Mizuho respectfully requests the Court to enter an Order

granting it leave to file the Motion Papers under seal.



                                                      MIZUHO BANK, LTD.

                                                      By:     _/s/ Jerome S. Fortinsky   ___
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Dated: February 1, 2018




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                                CERTIFICATE OF SERVICE

       The undersigned, Jerome S. Fortinsky, an attorney, hereby certifies that on February 1,

2018, he caused a true and accurate copy of the foregoing Motion For Leave To File Mizuho’s

Motion to Exclude the Report and Testimony of M. Todd Henderson Under Seal to be filed

with the Clerk of Court using the CM/ECF system, which shall send notification to all counsel of

record by operation of the Court’s electronic filing system.



                                                               /s/ Jerome S. Fortinsky
                                                               Jerome S. Fortinsky
